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16                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
17                                    SAN FRANCISCO DIVISION
18
     Paul Tremblay, et al.,                           Case No. 3:23-cv-03223-AMO
19
       Individual and Representative Plaintiffs,      PLAINTIFFS’ ADMINISTRATIVE MOTION TO
20                                                    CONSIDER WHETHER CASES SHOULD BE
             v.                                       RELATED (L.R. 3-12, 7-11)
21   OpenAI, Inc.; et al.,
22                                 Defendants.
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24
     Sarah Chabon, et al.,
25
       Individual and Representative Plaintiffs,
26
             v.
27
     OpenAI, Inc.; et al.,
28                                 Defendants.

                                                                    Case No. 3:23-cv-03223-AMO
     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (LR. 3- 12,
                                               7-11)
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2             PLEASE TAKE NOTICE that, pursuant to Civil Local Rules 3-12 and 7-11, Plaintiffs Paul

 3   Tremblay, Sarah Silverman, Christopher Golden, and Richard Kadrey (“Plaintiffs”) submit this

 4   administrative motion to consider whether Chabon, et al. v. OpenAI, Inc, et al., Case No. 4:23-cv-

 5   04625-PHK (N.D. Cal. Sept. 8, 2023) (“Chabon Action”) 1 should be related to the instant action,

 6   Tremblay, et al. v. OpenAI ,Inc ., et al., Case No. 3:23-cv-03223-AMO (N.D. Cal. June 28, 2023)

 7   (“Tremblay Action”). 2 This Court already ordered another similar case related to the Tremblay Action:

 8   Silverman, et al v. OpenAI, Inc., et al., Case No. 4:23-cv-03416-KAW (N.D. Cal. July 7, 2023) (ECF

 9   No. 26) (“Silverman Action”). 3

10                                               INTRODUCTION

11             The Chabon Action should be related to the Tremblay Action. The Silverman Action has

12   previously been related to the Tremblay Action. The Chabon Action concerns substantially the same

13   parties, transactions, and events at issue in both the Tremblay and Silverman Actions. See Saveri Decl.,

14   Ex. A (Chabon Complaint). 4 All plaintiffs allege OpenAI, Inc.; OpenAI, L.P.; OpenAI OpCo, L.L.C.;

15   OpenAI GP, L.L.C.; OpenAI Startup Fund I, L.P.; OpenAI Startup Fund GP I, L.L.C.; and OpenAI

16   Startup Fund Management, LLC (“Defendants”) engaged in actions related to the creation,

17   maintenance, and operation of the ChatGPT software product that violates their rights under Direct

18   Copyright Infringement (17 U.S.C. § 106), Vicarious Copyright Infringement (17 U.S.C. § 106), the

19   Digital Millenium Copyright Act – Removal of Copyright Management Information (17 U.S.C. § 1202

20   (b)) (“the DMCA”), Unfair Competition (Cal. Bus. & Prof. Code §§ 17200, et seq.), Negligence, and

21   Unjust Enrichment. Judicial economy and efficiency favor the Court finding that the cases are related.

22   If the cases are not related, it is likely to result in duplication of efforts, increased burden on the courts,

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24   1
      Plaintiffs in the Chabon Action are Michael Chabon, David Henry Hwang, Matthew Klam, Rachel
25   Louise Snyder, and Ayelet Waldman (“Chabon Plaintiffs”).
     2
26       Plaintiff in the Tremblay action is Paul Tremblay.
     3
         Plaintiffs in the Silverman action are Sarah Silverman, Christopher Golden, and Richard Kadrey.
27
     4
      “Saveri Decl.” refers to the Declaration of Joseph R. Saveri in Support of Plaintiffs’ Administrative
28   Motion to Consider Whether Cases Should be Related, concurrently filed herewith.
                                                    1                  Case No. 3:23-cv-03223-AMO
         PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (L.R. 3-
                                                12, 7-11)
              Case 3:23-cv-03223-AMO Document 46 Filed 09/20/23 Page 3 of 5




 1   and expense for the parties. All Defendants in the Tremblay and Silverman Actions have been served

 2   and appeared. Saveri Decl. ¶ 3. Plaintiffs informed Defendants of their plan to file this motion and

 3   Defendants do not oppose. Id.

 4                                                 DISCUSSION

 5          The Chabon, Tremblay, and Silverman Actions fall squarely within the definition of “Related

 6   Cases” in this District. Civil Local Rule 3-12(a) provides actions are related when “(1) the actions

 7   concern substantially the same parties, property, transaction, or event; and (2) it appears likely that

 8   there will be an unduly burdensome duplication of labor and expense or conflicting results if the cases

 9   are conducted before different Judges.” Indeed, the Tremblay and Silverman Actions have already

10   been related under the same grounds. The Chabon and Tremblay Actions, when compared, satisfy

11   parts (1) and (2) of the related case standard.

12          First, the Chabon and Tremblay Actions concern substantially the same parties, products, and

13   events. Both are class actions with the same Class Definition, Defendants, and causes of action, as set

14   forth above. Both complaints focus on the same conduct by Defendants, such as the creation, training,

15   operation, and maintenance of ChatGPT. Both actions assert Defendants violated their respective

16   plaintiffs’ rights under the DMCA by removing Copyright Management Information (“CMI”) from the

17   Infringed Works and redistributing those works via ChatGPT without CMI and/or with false CMI.

18   Both actions request damages, declaratory judgment, and injunctive relief.

19          Second, “burdensome duplication of labor and expense” will result if the matters proceed

20   before different courts. Civil L.R. 3-12(a)(2). This Court will necessarily adjudicate all the claims of

21   the Chabon Action when adjudicating those same claims in the Tremblay Action. That adjudication

22   will require a detailed factual examination of how ChatGPT was created, trained, modified,

23   maintained, and operated. A different court would not have the same familiarity with the predicate

24   facts, meaning that the other court and the parties would need to expend significant time and resources

25   to duplicate the efforts that this Court will undertake. Furthermore, the parties in the Chabon and

26   Tremblay Actions will need to brief similar—sometimes identical—issues and engage similar experts,

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                                                 2                  Case No. 3:23-cv-03223-AMO
      PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (L.R. 3-
                                             12, 7-11)
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 1   amongst other duplicative efforts that require significant time and money that would be better spent

 2   through coordinated efforts.

 3          Courts in this District routinely order that cases are related when they involve the same types

 4   of claims against the same defendants brought as putative class actions by different named plaintiffs.

 5   See, e.g., Order Relating Cases, Reece v. Altria Group, Inc., et al., No. 20-cv-02345-WHO (N.D. Cal.

 6   May 7, 2020), ECF No. 27.

 7                                                CONCLUSION

 8          Adjudication of these actions before separate judges would create both an unduly burdensome

 9   duplication of labor and expense as well as the possibility of conflicting results, given the common

10   parties, allegations, and requested relief. Relating the Chabon Action to the first-filed Tremblay Action

11   will help eliminate duplicative discovery, prevent inconsistent pretrial rulings, and conserve the

12   resources of the parties, their counsel, and the judiciary.

13          For the reasons set for above, Plaintiffs respectfully request the Court relate the Chabon Action

14   to the Tremblay Action, pursuant to Local Rule 3-12(a).

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                                                 3                  Case No. 3:23-cv-03223-AMO
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                                             12, 7-11)
             Case 3:23-cv-03223-AMO Document 46 Filed 09/20/23 Page 5 of 5




 1
     Dated: September 20, 2023                By:         __/s/ Joseph R. Saveri___
 2                                                         Joseph R. Saveri

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                                                 4                  Case No. 3:23-cv-03223-AMO
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